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                                                                                        FILED
                       UNITED STATES DISTRICT COURT FOR THE                          MAR 1 8 2025
                        NORTHERN DISTRICT OF WEST VIRGINIA                     us
                                                                                 ~OUR7q~

   UNITED STATES OF AMERICA,

   v.                                                 Criminal No.   3:25-CR-7

   MARCUS DE’ANGELO BROWN,
                                                      Violations:    18 U.S.C. § 922(g)(1)
             Defendant.                                              18 U.S.C. § 924(a)(8)
                                                                     18 U.S.C. § 933(a)(2)




                              SUPERSEDING INDICTMENT

        The Grand Jury charges that:

                                           COUNT ONE

                                      (Trafficking in Firearms)

        On or about August 16, 2024, in Berkeley County, in the Northern District of West

 Virginia, defendant MARCUS DE’ANGELO BROWN did receive from another person, in and

 otherwise affecting interstate and foreign commerce, a firearm, to wit: a Smith & Wesson, Model

 M&P 57, 5.7 caliber pistol bearing serial number EFC4008, knowing and having reasonable cause

 to believe that such receipt would constitute a felony, and did attempt and conspire to do so, in

 violation of Title 18, United States Code, Section 933(a)(2).




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                                           COUNT TWO

                                 (Unlawful Possession of Firearm)

        On or about August 16, 2024, in Berkeley County, in the Northern District of West

 Virginia, defendant MARCUS DE’ANGELO BROWN knowing that he had been convicted of

 a crime punishable by imprisonment for a term exceeding one year, that is, the felony offenses of

 “Sale for Profit a Controlled Drug (F)” in violation of Virginia Code Section 18.2-248 on February

 24, 2023 in case number FE-2021-672 in the Circuit Court of Fairfax County, Virginia; Carry

 Pistol Outside Home/Business (Pistol), Unlawful Possession of a Firearm, Possession of

 Unregistered FirearmfUnlawful Possession of a Firearm or Destructive Device, Unlawful

 Possession Ammunition in case number 2012 CF2 -16435 in the Superior Court of the District of

 Columbia; and possession with intent to distribute cocaine in violation of 33-541(a)-(b) in the

 Superior Court of the District of Columbia in case number 07 CF2 8763; did knowingly possess a

 Smith & Wesson, Model M&P 57, 5.7 caliber pistol bearing serial number EFC4008, said firearm

 having been shipped and transported in interstate commerce; in violation of Title 18, United States

 Code, Sections 922(g)(1) and 924(a)(8).




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                                 FORFEITURE ALLEGATION

                                         Gun Control Act

        Pursuant to Title 28, United States Code, Section 2461(c), and Title 18, United States Code,

 Section 924(d)(1) and 934, the government will seek the forfeiture of any firearm and any

 ammunition involved in and used in any knowing violation of Title 18, United States Code,

 Sections 922(g)(1) and 933 including the following a Smith & Wesson, Model M&P 57, 5.7 caliber

 pistol bearing serial number EFC4008.


                                                 A True Bill,



                                                  /5/
                                                 Grand Jury Foreperson



 /5/
 RANDOLPH J. BERNARD
 Acting United States Attorney

 Lara K. Omps-Botteicher
 Morgan C. McKee
 Assistant United States Attorneys




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